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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7    JEFF YOUNG,                                        CASE NO. 17-cv-06252-YGR
                                   8                    Plaintiff,
                                                                                           ORDER RE: MOTION TO DISMISS
                                   9              vs.
                                                                                           Re: Dkt. Nos. 31, 32
                                  10    CREE, INC.,
                                  11                    Defendant.

                                  12
Northern District of California
 United States District Court




                                  13          Plaintiff Jeff Young brings this putative class action lawsuit against defendant Cree, Inc.
                                  14   (“Cree”) alleging that defendant engaged in an “unfair and deceptive practice of . . . promising
                                  15   consumers” that Cree’s light-emitting-diode bulbs (the “LED Bulbs”) “will last for particularly
                                  16   long periods of time up to 35,000 hours” with a “100% Satisfaction Guarantee” and “yearly energy
                                  17   cost savings ranging from around $0.60 to $2 per blub per year” in violation of California’s Unfair
                                  18   Competition Law (“UCL”), Cal. Bus. Prof. Code §§ 17200, et seq. (Count I); (False Advertising
                                  19   Law (“FAL”), Cal. Bus. Prof. Code §§ 17500, et seq. (Count II); Consumers Legal Remedies Act
                                  20   (“CLRA”), Cal. Civ. Code §§ 1750, et seq. (Count III);1 fraudulent misrepresentation and
                                  21   concealment (Count V); negligent misrepresentation (Count VI); unjust enrichment (Count VII);
                                  22   breach of express and implied warranties (Count VIII);2 and negligent failure to test (Count IX).
                                  23   (Dkt. No. 1, Class Action Compliant (“CAC”).)
                                  24
                                              1
                                  25           Plaintiff has withdrawn his claim for breach of the covenant of good faith and fair dealing
                                       (Count IV). (Dkt. No. 37, Opposition at 1.)
                                  26
                                              2
                                                 Plaintiff’s complaint designates two separate causes of action as “Count VII,” namely
                                  27   claims for unjust enrichment and breach of express and implied warranties. In the interest of
                                       clarity, the Court has re-designated the breach of express and implied warranties claim as “Count
                                  28
                                       VIII.”
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                                   1            Now before the Court is defendant’s motion to dismiss.3 (Dkt. No. 31, Motion to Dismiss

                                   2   (“MTD”).) Having carefully considered the pleadings and fully-briefed motion, the hearing held

                                   3   on April 3, 2018, and for the reasons set forth below, the Court GRANTS IN PART and DENIES IN

                                   4   PART defendant’s motion as described below.

                                   5   I.       BACKGROUND

                                   6            As relevant here, the complaint alleges as follows:

                                   7            Defendant Cree “advertise[s], market[s], distribute[s], or s[ells]” LED Bulbs “to consumers

                                   8   throughout the United States.” (CAC ¶ 12.) “[O]n or around April of 2015” Young purchased

                                   9   three of defendant’s LED Bulbs at Walmart and paid “approximately $15-20 for each bulb.” (Id. ¶

                                  10   32.) “Within months, all three [LED Bulbs] burned out even though [plaintiff] used them

                                  11   according to the instructions.” (Id. ¶ 32.)

                                  12            “Cree’s packaging offers a ‘100% Satisfaction Guarantee’ for LED Bulbs and an estimated
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                                  13   lifetime of between 15–32 years depending on the product. The packages further offer an

                                  14   estimated yearly energy cost savings ranging from $0.60 to $2 per bulb per year. Cree packaging

                                  15   also offers a ‘10 Year Warranty.’” (Id. ¶¶ 3, 27.) Moreover, Cree’s website “boast[s] . . . a 10

                                  16   year 100% satisfaction guarantee.” (Id. ¶ 4.) Plaintiff alleges that these “marketing efforts are

                                  17   made in order to—and do in fact—induce its customers to purchase the LED bulbs at a premium

                                  18   because consumers believe the Lightbulbs will last for far longer than their actual life.” (Id. ¶ 5.)

                                  19   Based thereon, plaintiff asserts “Cree’s claims regarding the longevity of the LED Lightbulbs are

                                  20   false.” (Id. ¶ 6.)

                                  21   II.      LEGAL FRAMEWORK

                                  22            A.     Motion to Dismiss

                                  23            Pursuant to Rule 12(b)(6), a complaint may be dismissed for failure to state a claim upon

                                  24   which relief may be granted. Dismissal for failure to state a claim under Federal Rule of Civil

                                  25
                                                3
                                  26            Also before the Court is defendant’s request for judicial notice of the front and back
                                       packaging for three types of Cree LED Blubs. (Dkt. No. 32.) In light of the lack of opposition,
                                  27   the Court GRANTS defendant’s request for judicial notice, but does not accept the truth of any
                                       matters asserted in the documents. The Court gives such documents their proper evidentiary
                                  28
                                       weight.
                                                                                        2
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                                   1   Procedure 12(b)(6) is proper if there is a “lack of a cognizable legal theory or the absence of

                                   2   sufficient facts alleged under a cognizable legal theory.” Conservation Force v. Salazar, 646 F.3d

                                   3   1240, 1242 (9th Cir. 2011) (citing Balistreri v. Pacifica Police Dep’t, 901 F.2d 696, 699 (9th Cir.

                                   4   1988)). The complaint must plead “enough facts to state a claim [for] relief that is plausible on its

                                   5   face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). A claim is plausible on its face

                                   6   “when the plaintiff pleads factual content that allows the court to draw the reasonable inference

                                   7   that the defendant is liable for the misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678

                                   8   (2009). If the facts alleged do not support a reasonable inference of liability, stronger than a mere

                                   9   possibility, the claim must be dismissed. Id. at 678–79. Mere “conclusory allegations of law and

                                  10   unwarranted inferences are insufficient to defeat a motion to dismiss.” Adams v. Johnson, 355

                                  11   F.3d 1179, 1183 (9th Cir. 2004). In ruling on a motion to dismiss, “the court must presume all

                                  12   factual allegations of the complaint to be true and draw all reasonable inferences in favor of the
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                                  13   nonmoving party.” Knevelbaard Dairies v. Kraft Foods, Inc., 232 F.3d 979, 984 (9th Cir. 2000).

                                  14            Additionally, claims sounding in fraud are subject to the heightened pleading requirements

                                  15   of Federal Rule of Civil Procedure 9(b). Vess v. Ciba–Geigy Corp. USA, 317 F.3d 1097, 1103–04

                                  16   (9th Cir. 2003). “In alleging fraud or mistake, a party must state with particularity the

                                  17   circumstances constituting fraud or mistake. Malice, intent, knowledge, and other conditions of a

                                  18   person’s mind may be alleged generally.” Fed. R. Civ. Proc. 9(b). “Averments of fraud must be

                                  19   accompanied by the who, what, when, where, and how of the misconduct charged.” Kearns v.

                                  20   Ford Motor Co., 567 F.3d 1120, 1124 (9th Cir. 2009). These requirements “ensure that

                                  21   allegations of fraud are specific enough to give defendants notice of the particular misconduct

                                  22   which is alleged to constitute the fraud charged so that they can defend against the charge and not

                                  23   just deny that they have done anything wrong.” Semegen v. Weidner, 780 F.2d 727, 731 (9th Cir.

                                  24   1985).

                                  25            B.     Preemption

                                  26            Preemption is fundamentally a question of congressional intent. Wyeth v. Levine, 555

                                  27   U.S. 555, 565 (2009). “Federal preemption occurs when: (1) Congress enacts a statute that

                                  28   explicitly pre-empts state law; (2) state law actually conflicts with federal law; or (3) federal law
                                                                                          3
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                                   1   occupies a legislative field to such an extent that it is reasonable to conclude that Congress left

                                   2   no room for state regulation in that field.” Chae v. SLM Corp., 593 F.3d 936, 941 (9th Cir. 2010)

                                   3   (internal quotation marks and citations omitted).

                                   4          While the Court’s interpretation of a preemption statute “must begin with its text,” that

                                   5   interpretation “does not occur in a contextual vacuum.” Medtronic, Inc. v. Lohr, 518 U.S. 470,

                                   6   484–85 (1996); see Altria Group, Inc. v. Good, 555 U.S. 70, 76 (2008) (stating that, even “[i]f a

                                   7   federal law contains an express pre-emption clause, it does not immediately end the inquiry

                                   8   because the question of the substance and scope of Congress’ displacement of state law still

                                   9   remains.”). In analyzing the issue, a court must begin with the presumption that unless a “clear

                                  10   and manifest purpose of Congress” exists, federal acts should not supersede the historic police

                                  11   powers of the states. Wyeth, 555 U.S. at 565; Lohr, 518 U.S. at 485. “Parties seeking to

                                  12   invalidate a state law based on preemption ‘bear the considerable burden of overcoming the
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                                  13   starting presumption that Congress does not intend to supplant state law.’” Stengel v. Medtronic,

                                  14   704 F.3d 1224, 1227–28 (9th Cir. 2013) (en banc) (quoting De Buono v. NYSA–ILA Med. &

                                  15   Clinical Servs. Fund, 520 U.S. 806, 814 (1997)).

                                  16          Preemption is express where Congress has considered the issue of preemption and

                                  17   included in the enacted legislation a provision explicitly addressing that issue. Valentine v.

                                  18   NebuAd, Inc., 804 F. Supp. 2d 1022, 1028 (N.D. Cal. 2011) (citing Cipollone v. Liggett Group,

                                  19   505 U.S. 504, 517 (1992)). In the absence of explicit preemptive language, congressional intent

                                  20   to preempt can be implied under two scenarios: field preemption and conflict preemption. First,

                                  21   field preemption occurs “where the scheme of federal regulation is ‘so pervasive as to make

                                  22   reasonable the inference that Congress left no room for the States to supplement it.’” Valentine,

                                  23   804 F. Supp. 2d at 1028 (quoting Gade v. Nat’l Solid Wastes Mgmt. Ass’n, 505 U.S. 88, 98

                                  24   (1992)). Field preemption should not be found in the absence of persuasive reasons—either that

                                  25   the nature of the regulated subject matter permits no other conclusion, or that, without question,

                                  26   Congress has so ordained. Valentine, 804 F. Supp. 2d at 1028–29 (such preemption arises in

                                  27   only extraordinary circumstances). Second, conflict preemption arises when “compliance with

                                  28   both federal and state regulations is a physical impossibility.” Id. (internal citations omitted).
                                                                                           4
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                                   1   Conflict preem
                                                    mption may also
                                                               a exist wh
                                                                        here “state laaw ‘stands ass an obstaclee to the

                                   2   acccomplishmen
                                                    nt and execu
                                                               ution of the full
                                                                            f purposess and objectiives of Conggress.’” Id. ((internal

                                   3   citaations omitteed). Showin
                                                                  ng preemptio
                                                                             on by imposssibility is a ““demanding defense.” W
                                                                                                                             Wyeth, 555

                                   4   U.S
                                         S. at 573.

                                   5           C.      Energy Pollicy and Con
                                                                            nservation A
                                                                                       Act

                                   6           The En                      vation Act (tthe “EPCA”) establishess a national eenergy
                                                    nergy Policy and Conserv

                                   7   con
                                         nservation prrogram to reeduce energy
                                                                             y use in the U
                                                                                          United Statees by creatingg various reqquirements

                                   8   witth regard to (i) energy effficiency, (ii)) efficiency testing, (iii) operating coosts, and (ivv) labeling

                                   9   req
                                         quirements. 42 U.S.C. §§ 6291-6309
                                                                          9; see also S
                                                                                      S. Rep. No. 994-516, at 5117 (1975), reeprinted in

                                  10   197
                                         75 U.S.C.C.A
                                                    A.N. 1956, 1957. Under the EPCA,, LED bulb m
                                                                                               manufactureers must discclose certain

                                  11   infformation on
                                                     n their producct packaging
                                                                              g. 16 C.F.R.. 305.15. Thhe product’s “principal ddisplay

                                  12   pan
                                         nel” must incclude the LE
                                                                 ED bulb’s esstimated annu
                                                                                        nual energy ccost, “expresssed as ‘Estim
                                                                                                                               mated
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                                  13   Energy Cost’ in
                                                     n dollars and
                                                                 d based on usage
                                                                            u     of 3 hoours per day and 11 centts ($0.11) perr kWh.” 16

                                  14   C.F
                                         F.R 305.15(b
                                                    b)(1). The package’s
                                                               p         “L
                                                                          Lighting Factts” label muust further incclude the esttimated

                                  15   lifeespan of each
                                                       h bulb. 16 C.F.R.
                                                                  C      305.15(b)(3).

                                  16           Illustrattive examplees of the required disclossures are deppicted below
                                                                                                                      w:

                                  17           Princip
                                                     pal Display Panel                                 Ligh
                                                                                                          hting Facts L
                                                                                                                      Label

                                  18

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                                  23

                                  24   The EPCA pro
                                                  ovides that th
                                                               hese required
                                                                           d disclosuress do not givee rise to exprress or impliied

                                  25   waarranties. Sp
                                                     pecifically, Section
                                                                  S       6297(g) of the EP
                                                                                          PCA providees:

                                  26   //

                                  27   //

                                  28   //
                                                                                              5
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                                              Any disclosure with respect to energy use, energy efficiency, or estimated annual
                                   1          operating cost which is required to be made under the provisions of this part shall
                                   2          not create an express or implied warranty under State or Federal law that such
                                              energy efficiency will be achieved or that such energy use or estimated annual
                                   3          operating cost will not be exceeded under conditions of actual use.

                                   4   42 U.S.C. § 6297(g) (emphasis supplied).
                                   5   III.   DISCUSSION
                                   6          Defendant argues that plaintiff’s claims fail because the claims are (i) preempted by the
                                   7   EPCA and, in any event, (ii) not sufficiently pled. Defendant also claims that Young lacks
                                   8   standing to bring claims for alleged misrepresentations regarding certain types of LED Bulbs
                                   9   which he did not purchase.
                                  10          A.      EPCA Preemption
                                  11          As an initial matter, the Court must determine whether plaintiff’s claims are preempted by
                                  12   the EPCA. As noted, the EPCA states that “[a]ny disclosure with respect to energy use, energy
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                                  13   efficiency, or estimated annual operating cost which is required to be made under the [EPCA] . . .
                                  14   shall not create an express or implied warranty under State or Federal law.” 42 U.S.C. § 6297(g).
                                  15   Several district courts interpreting Section 6297(g) have held that the EPCA preempts both
                                  16   warranty and non-warranty claims which arise from defendant’s “disclosure[s] with respect to
                                  17   energy use, energy efficiency, or estimated annual operating cost which [are] required to be made
                                  18   under the [EPCA].” See Schwartz v. Vizio, Inc., 2017 WL 2335364, at *4 (C.D. Cal. 2017) (citing
                                  19   42 U.S.C. § 6297(g)); Jurgensen v. Felix Storch, Inc., 2012 WL 2354247, at *7 (S.D.N.Y. 2012).
                                  20   Stated differently, Section 6297(g) “expressly preempts all . . . claims [which] allege that
                                  21   [consumer products] did not perform as promised on a federally-required label.” Id.
                                  22          Schwartz is instructive. There, plaintiff brought warranty and non-warranty claims4
                                  23   alleging that defendant’s representations regarding energy efficiency contained within a federally-
                                  24

                                  25          4
                                               Plaintiff’s warranty claims included causes of action for breach of express warranty and
                                  26   implied warranty of merchantability. Schwartz, 2017 WL 2335364, at *1.
                                              Plaintiff’s non-warranty claims included causes of action for violations of Illinois’
                                  27   Consumer Fraud and Deceptive Business Practices Act; Pennsylvania’s Unfair Trade Practices
                                       and Consumer Protection Law; negligent misrepresentation; fraudulent concealment; intentional
                                  28
                                       misrepresentation; fraud; and unjust enrichment. Schwartz, 2017 WL 2335364, at *1.
                                                                                       6
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                                   1   req
                                         quired energy
                                                     y label were misleading.. Id. at *1. IIn granting ddefendant’s motion to diismiss, the

                                   2   Sch
                                         hwartz courtt held that pllaintiff’s warrranty claimss were preem
                                                                                                         mpted underr the EPCA aand the non-

                                   3   waarranty claim
                                                     ms were simillarly preemp
                                                                             pted on the gground that tthe non-warrranty claims were

                                   4   “simply . . . bacckdoor” atteempts to recaast “a breachh of warrantyy claim.” Idd. at *4 (interrnal

                                   5   quo
                                         otations omiitted); see alsso Jurgensen
                                                                               n, 2012 WL 2354247, att *1 (findingg plaintiff’s uunjust

                                   6   enrrichment claaim preempteed because itt was merelyy a “backdooor” to a warrranty claim);; Gee v.

                                   7   Vikking Range Corp.,
                                                     C      WL 4416442,
                                                               4        at *2
                                                                           * (N.D. Mi ss. 2008) (noon-warrantyy claims barrred because

                                   8   thee such claimss were “inex
                                                                  xtricably inteertwined withh warranty cclaims whichh are barred by

                                   9   §62
                                         297(g)”).

                                  10           Here, plaintiff
                                                     p         asserrts his claim
                                                                                ms do not arisse from stateements whichh appear witthin the LED
                                                                                                                                              D

                                  11   Bu
                                        ulbs’ principaal display paanels or Ligh
                                                                               hting Facts laabels but froom representtations whichh appear

                                  12   elsewhere on th
                                                     he product packaging
                                                                p         orr on the interrnet. (See Oppposition at 6.) Upon reeview, the
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                                  13   Court finds three categories of alleged misrepresenntations, nam
                                                                                                      mely those w
                                                                                                                 which (i) reiteerate

                                  14   dissclosures req
                                                      quired to be made
                                                                   m    on the product’s prrincipal dispplay panel orr Lighting Faacts label;

                                  15   (ii)) present info
                                                        ormation reg
                                                                   garding comp
                                                                              parative eneergy consum
                                                                                                    mption, energgy savings, aand lifespan;

                                  16   and
                                         d (iii) state th
                                                        hat Cree’s prroducts are “100%
                                                                                 “     Satissfaction Guaaranteed.” E
                                                                                                                   Examples of eeach

                                  17   cattegory are deepicted below
                                                                   w.

                                  18   Firrst Category
                                                     y

                                  19

                                  20

                                  21

                                  22

                                  23   Seccond Catego
                                                    ory

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                                  27   † At
                                         A $.011 per kWh when compared
                                                              c        to
                                                                        o 60W incanndescent, 30,000 hour liffetime.
                                  28
                                                                                            7
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                                   1   Th
                                        hird Categorry
                                   2

                                   3

                                   4

                                   5   * This
                                         T product is guaranteeed to give 10     00% perform mance satisfaaction and is covered by a limited
                                       waarranty. If within
                                                     w       5 yearss from the daate of purchaase you are nnot completeely satisfied with the
                                   6   perrformance off this producct, return thee product to CCree . . . [annd] Cree willl send you a replacementt
                                   7   or at Cree’s option refund the
                                                                    t original purchase
                                                                                  p         priice. Cree maay require a purchase receipt.

                                   8                   1.      Firsst Category:: Reiteration
                                                                                           ns of Federaally-Requirred Disclosu
                                                                                                                             ures
                                   9           Severall courts havee held that sttatements whhich merely reiterate thee content of ffederally-
                                  10   req
                                         quired disclo
                                                     osures are preeempted. Seee Cooper v.. United Vacccines, Inc., 117 F. Suppp. 2d 864,
                                  11   871
                                         1–872 (E.D. Wis. 2000) (adopting a “sensible annd practical approach” w
                                                                                                               which “focusses the
                                  12   preeemption issu
                                                      ue upon the content and language off the represeentation at isssue” rather tthan the
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                                  13   phy
                                         ysical placem
                                                     ment of the representatio
                                                                 r           on); see also Kuiper v. A
                                                                                                     American Cyanamid Co.,, 913 F.
                                  14   Sup
                                         pp. 1236, 12
                                                    244 (E.D. Wis. 1996) (fin
                                                                            nding the reiiteration of ffederally-reqquired label information
                                  15   nott actionable)); Kanter v. Warner–Lam
                                                                    W        mbert Co., 999 Cal. App. 4th 780, 7977 (2002) (staatements
                                  16   wh
                                        hich are “sim
                                                    mply alternatiive explanations” of thosse containedd in federallyy mandated llabels are
                                  17   preeempted).
                                  18           Here, plaintiff’s
                                                     p           claaims are preeempted to thhe extent thatt such claims arise from the first
                                  19   cattegory of alleeged misreprresentations, namely thoose statemennts which meerely reiteratte the
                                  20   infformation req
                                                      quired to be disclosed on
                                                                              n the LED B
                                                                                        Bulbs’ princippal display ppanel or Lighhting Facts
                                  21   lab                      A.5 Such stattements incllude represenntations regaarding the “eestimated
                                         bel pursuant to the EPCA
                                  22

                                  23
                                               5
                                                 Plainttiff argues th
                                                                    hat the first category
                                                                                  c         of reepresentatioons goes beyond the fedeerally-
                                  24   req
                                         quired discloosures and is not preemptted because these repressentations om     mit or alter thhe
                                  25   infformation wh hich appearss in the Lightting Facts Paanel. For exxample, the L  Lighting Faccts Panel
                                       states that the lifespan
                                                       l         of th
                                                                     he LED Bulb   b is “27.4 yeears” based oon “3 hrs/dayy” of use whhereas the
                                  26   chaallenged reprresentation states
                                                                     s     that thhe LED Bulbb is “27+ yeaars rated lifetime.” Plainntiff’s
                                       arg
                                         gument fails in light of th he fact that the federallyy-required dissclosure andd challenged
                                  27   rep
                                         presentation both addresss the “estimaated lifespann of the lightt bulb,” 16 C C.F.R. § 305..15(c), and
                                       weere displayedd in close pro oximity on th he LED Bulbb’s packaginng.
                                  28
                                                                                            8
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                                   1   lifespan of the light bulb.”6 See 16 C.F.R. § 305.15(c), 16 C.F.R. § 305.2(w); (CAC ¶ 16).

                                   2   Accordingly, defendant’s motion to dismiss is GRANTED to the extent that plaintiff’s claims arise

                                   3   from statements which simply reiterate federally-required disclosures.

                                   4                  2.     Second Category: Comparative Performance

                                   5          With regard the second category, and, by contrast to mere reiterations, statements which

                                   6   are “substantially different” from the federally-required disclosures are not preempted. Cooper,

                                   7   117 F. Supp. 2d at 871–72; see also Taylor AG Industries v. Pure–Gro, 54 F.3d 555, 563 (9th Cir.

                                   8   1995) (finding claims based on oral statements made by a distributor preempted because there was

                                   9   no evidence that the statements “were inconsistent with or went beyond the labels”). These

                                  10   include representations regarding energy consumption, lifetime energy savings, and lifespan as

                                  11   compared to competing products.

                                  12          In re Ford is instructive. There, plaintiffs alleged that Ford made misleading comparisons
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                                  13   between Ford’s Fusion cars and competing hybrid vehicles using figures derived from federally-

                                  14   mandated fuel efficiency disclosures. In re Ford Fusion and C–Max Fuel Economy Litig., 2015

                                  15   WL 7018369 at *2–3 (S.D.N.Y. 2015). The court held that plaintiffs’ claims were preempted to

                                  16   the extent that such claims arose from Ford’s presentation of federally-mandated fuel efficiency

                                  17   estimates. Id. at *27. However, the court also found that claims based on Ford’s representations

                                  18   which compared the fuel efficiency of Ford’s Fusion cars to that of Ford’s competitors were not

                                  19   preempted on the ground that such statements “go beyond merely reporting the EPA-estimated

                                  20   MPG.” Id. at *26; see also Yung Kim v. General Motors, LLC, 99 F. Supp. 3d 1096, 1104 (C.D.

                                  21   Cal. 2015) (finding representations based on federally-mandated EPA estimates not preempted by

                                  22   the EPCA because the representations could lead reasonable consumers to believe the vehicles

                                  23   would be “able to achieve real-world mileage and tank range derived from those figures”). In

                                  24   denying defendant’s motion to dismiss, the court highlighted that plaintiffs’ consumer protection

                                  25

                                  26
                                              6
                                                 To the extent that the complaint alleges misrepresentations which convey the LED
                                  27   Bulbs’ estimated lifespan in hours as opposed to years such statements are similarly preempted.
                                       See Cooper, 117 F. Supp. 2d at 871–72. The simple arithmetic conversation of years to hours
                                  28
                                       does not change the content of the challenged representation.
                                                                                         9
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                                   1   claims “were not based on the disclosure of fuel economy or fuel operating costs, but rather [were]

                                   2   based on the more general duty not to deceive,” which Ford violated by “portraying a false impression

                                   3   about the ‘superior’ fuel economy of the [vehicles], beyond the mere disclosure of the EPA estimates.”

                                   4   Id. at *24.

                                   5           Here, plaintiff challenges several representations which tout the performance of Cree’s

                                   6   LED Bulbs when compared to competing bulbs, including representations on Cree’s website that

                                   7   its LED Bulbs will last “up to 3x as long as the cheap LED bulbs” and on the packaging which

                                   8   indicates that customers will save $95-177 by using a Cree LED Bulb. (CAC ¶¶ 19–27.) Such

                                   9   statements “go beyond merely reporting the EPA-estimated” bulb lifespan and convey an

                                  10   allegedly “false impression about the superior” longevity and cost savings of Cree’s LED Bulbs.

                                  11   In re Ford Fusion, 2015 WL 7018369 at *24 (internal quotations omitted). These representations

                                  12   give rise to a plausible inference that reasonable consumers would believe the Cree’s LED Bulbs
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                                  13   are “able to achieve real-world” lifespan and cost savings. See Yung Kim, 99 F. Supp. 3d at 1104.

                                  14           Accordingly, defendant’s motion to dismiss is DENIED to the extent that such claims

                                  15   challenge the second category of alleged misrepresentations, namely those that purport to compare

                                  16   the longevity, energy consumption, and cost savings of defendant’s LED Bulbs to competitors’

                                  17   LED and incandescent bulbs.

                                  18                  3.      Third Category: 100% Satisfaction Guaranteed

                                  19           With regard to the third category, which includes representations that the LED Bulbs are

                                  20   “100% Guaranteed[,]” such representations are not preempted. Such representations are not

                                  21   required by EPCA and therefore fall outside the purview of Section 6297(g). See In re Ford, 2015

                                  22   WL 7018369 at *1 (holding “any allegations that go beyond the mere disclosure . . . [of

                                  23   information required by the statute], go beyond the scope of the EPCA”); see also True v. Honda

                                  24   Motor Co., 520 F. Supp. 2d 1175, 1181 (C.D. Cal. 2007) (claims not preempted because the

                                  25   challenged representations were not within the scope of a federally-mandated disclosure).

                                  26           B.     Sufficiency of Allegations

                                  27           Having determined that plaintiff’s claims are preempted only to the extent that such claims

                                  28   arise from the first category of representations, the Court now turns to whether plaintiff’s claims
                                                                                         10
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                                   1   arising from non-preempted representations are sufficiently pled as to each category of alleged

                                   2   misrepresentations.

                                   3                  1.      Second Category: Comparative Performance
                                                              a.    Claims Sounding in Fraud: UCL, FAL, CLRA, and Fraudulent
                                   4                                Misrepresentation and Concealment
                                   5          Plaintiff alleges four causes of action involving allegations sounding in fraud, namely
                                   6   claims under the UCL (Count I), FAL (Count II), and CLRA (Count III), and for fraudulent
                                   7   misrepresentation and concealment (Count V). All four claims require plaintiff to allege a false or
                                   8   misleading statement, scienter, intent, reasonable reliance, and damages. See Bank of the West v.
                                   9   Valley Nat. Bank of Arizona, 41 F.3d 471, 477 (9th Cir. 1994) (citing Hackethal v. Nat Cas. Co.,
                                  10   189 Cal. App. 3d. 1102, 1111 (1987)). In a deceptive advertising case involving allegations of
                                  11   fraud, “Rule 9(b) requires that the plaintiff(s) identify specific advertisements and promotional
                                  12   materials; allege when the plaintiff(s) were exposed to the materials; and explain how such
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                                  13   materials were false or misleading.” Janney v. Mills, 944 F. Supp. 2d 806, 818 (N.D. Cal. 2013).
                                  14   Defendant asserts that plaintiff fails to allege (i) Cree’s scienter and (ii) the circumstances
                                  15   surrounding the alleged fraud including Young’s reliance.
                                  16          With respect to defendant’s first argument, plaintiff alleges that defendant “designed,
                                  17   formulated, tested, manufactured, inspected, distributed, marketed, supplied, and/or sold” the LED
                                  18   Bulbs at issue. (CAC ¶ 125.) According to plaintiff, Cree claims on its website that it “designs
                                  19   and tests its bulbs to last longer, with rated lifetimes equal to or exceeding Energy Star minimum
                                  20   requirements.” (Id. ¶ 26.) These allegations, particularly those related to testing, are sufficient to
                                  21   create a reasonable inference that Cree knew that the challenged representations were false. See
                                  22   Kowalsky v. Hewlett–Packard Co., 2011 WL 3501714 (N.D. Cal. 2011) (finding plaintiff’s
                                  23   allegation that defendant tested its products sufficient to create a plausible inference that defendant
                                  24   had knowledge of a product defect); Avedisian v. Mercedes–Benz USA, LLC, 2013 WL 2285237,
                                  25   at *7 (C.D. Cal. 2013) (same).
                                  26          Turning to Cree’s second argument, plaintiff alleges that defendant knowingly made false
                                  27   representations and concealed material facts regarding the “quality, durability, longevity and
                                  28   benefits of [Cree’s] LED Lightbulbs.” (CAC ¶¶ 46–47, 48, 50, 57, 58, 66, 67, 70.) Plaintiff
                                                                                    11
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                                   1   identifies the specific advertisements and marketing materials which he claims are false and

                                   2   misleading. (Id. ¶¶ 15, 16, 17, 19, 20, 21, 23, 24, 25, 27.) Next, plaintiff alleges that he was

                                   3   exposed to the false representations when he purchased the LED Bulbs from Walmart in April of

                                   4   2015. (Id. ¶ 32.) Further, he claims he would not have purchased the bulbs, or would not have

                                   5   paid as much for them, absent the alleged misrepresentations. (Id. ¶¶ 50, 60, 68, 90, 97, 122.)

                                   6   Plaintiff alleges that these representations are false and misleading because the LED Bulbs “do not

                                   7   last nearly as long as advertised. (Id. ¶ 6.) However, plaintiff fails to plead his reliance and does

                                   8   not identify the specific representations on which he relied.

                                   9          Accordingly, defendant’s motion to dismiss is GRANTED with respect to plaintiff’s claims

                                  10   under the UCL (Count I), FAL (Count II), CLRA (Count III), and for fraudulent misrepresentation

                                  11   and concealment (Count V) with leave to amend to plead plaintiff’s reliance and identify the

                                  12   specific representations on which he relied.
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                                  13                          b.      Negligence Claims

                                  14          Plaintiff alleges two causes of action for negligence, namely negligent misrepresentation

                                  15   (Count VI)7 and negligence in design based on Cree’s failure to test its LED Bulbs adequately

                                  16   (Count IX). Defendant argues that both negligence claims are barred by the economic loss rule.

                                  17          “The economic loss rule requires a purchaser to recover in contract for purely economic

                                  18   loss due to disappointed expectations, unless he can demonstrate harm above and beyond a broken

                                  19   contractual promise.” Ladore v. Sony Comput. Entm’t Am., 75 F. Supp. 3d 1065, 1074 (N.D. Cal.

                                  20   2014) (quoting Tasion Communications v. Ubiquiti Networks, Inc., 2013 WL 4530470, at *3

                                  21   (N.D. Cal. 2013)). “[T]he economic loss rule has been applied to bar a plaintiff's tort recovery of

                                  22   economic damages unless such damages are accompanied by some form of physical harm (i.e.,

                                  23   personal injury or property damage).” Id. (emphasis in original) (citing North Am. Chem. Co. v.

                                  24
                                              7
                                  25             “In California, the elements of negligent misrepresentation are ‘(1) a misrepresentation
                                       of a past or existing material fact, (2) made without reasonable ground for believing it to be true,
                                  26   (3) made with the intent to induce another's reliance on the fact misrepresented, (4) justifiable
                                       reliance on the misrepresentation, and (5) resulting damage.’” Yamauchi v. Cotterman, 84 F.
                                  27   Supp. 3d 993, 1018 (N.D. Cal. 2015) (quoting Ragland v. U.S. Bank Nat. Assn., 209 Cal. App. 4th
                                  28   182, 196 (2012)).

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                                   1   Superior Court, 59 Cal. App. 4th 764, 777 (1997)). “Put more precisely, in actions arising from

                                   2   the sale or purchase of a defective product, plaintiffs seeking economic losses must be able to

                                   3   demonstrate that either physical damage to property (other than the defective product itself) or

                                   4   personal injury accompanied such losses; if they cannot, then they would be precluded from any

                                   5   tort recovery in strict liability or negligence.” Id. (quoting North Am. Chem., 59 Cal. App. 4th at

                                   6   780). The economic loss rule “prevents the law of contract and the law of tort from dissolving

                                   7   into one another.” Robinson Helicopter Co., v. Dana Corp., 34 Cal. 4th 979, 988 (2004).

                                   8          Several California courts and federal courts in this district have recognized an exception to

                                   9   the economic loss rule. See Robinson Helicopter, 34 Cal. 4th at 989–93; JMP Securities LLP, v.

                                  10   Altair Nanotechnologies Inc., 880 F. Supp. 2d 1029, 1043–44 (N.D. Cal. 2012). Specifically, a

                                  11   plaintiff seeking economic damages for a negligence claim “will [not] be barred by the economic

                                  12   loss rule [where] the plaintiff alleges that the defendant made an affirmative representation, and
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                                  13   that the defendant’s representation exposed the plaintiff to independent personal liability.” Crystal

                                  14   Springs Upland School v. Fieldturf USA, Inc., 219 F. Supp. 3d 962, 970 (N.D. Cal. 2016)

                                  15   (dismissing negligent misrepresentation claim because plaintiff did not allege exposure to

                                  16   independent personal liability); see also Westport Ins. Corp. v. Vasquez, Estrada and Conway

                                  17   LLP, 2016 WL 1394360, at *5–7 (N.D. Cal. 2016) (claim for negligent misrepresentation barred

                                  18   under the economic loss rule because the alleged tortious conduct was not separate from the

                                  19   breach of contract); Nada Pac. Corp. v. Power Eng.g & Mfg., Ltd., 73 F. Supp. 3d 1206, 1224–25

                                  20   (N.D. Cal. 2014) (same).8

                                  21
                                              8
                                  22              Defendant raises two additional arguments in its motion regarding plaintiff’s negligence
                                       actions. First, defendant argues that plaintiff cannot bring a claim for “negligence—failure to test”
                                  23   because it is not a valid cause of action in California. This argument is without merit. California
                                       courts have held that the “duty to test is a subpart of the other three duties [to safely manufacture,
                                  24   adequately design, and appropriately warn].” Valentine v. Baxter Healthcare Corporation, 68 Cal.
                                  25   App. 4th 1467, 1486 (1999); see also Gordon v. Aztec Brewing Co., 33 Cal. 2d 514, 520 (1949)
                                       (finding “negligence in the defendant's failure to test”); Centeno v. Bayer HealthCare Pharm. Inc.,
                                  26   2014 U.S. Dist. LEXIS 136234, at *8-9 (S.D. Ill. 2014) (applying California law and denying
                                       dismissal of a negligence claim by finding that “failure to test” is a factual allegation supporting a
                                  27   claim that defendants were negligent and brings it “within the ambit of Valentine, which
                                       recognizes that testing and inspection duties may be tied to liability for manufacture, design, and
                                  28
                                       failure to warn, even if they are not maintainable as an independent duty”).
                                                                                          13
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                                   1          Here, plaintiff does not allege that he suffered “physical harm” or that he was exposed to

                                   2   personal liability as a result of defendant’s alleged misrepresentations. Accordingly, defendant’s

                                   3   motion to dismiss plaintiff’s claims for negligent misrepresentation (Count VI) and negligent

                                   4   failure to test (Count IX) is GRANTED on the ground that such claims are barred by the economic

                                   5   loss rule. Plaintiff is granted leave to file an amended complaint which alleges, if possible, that he

                                   6   was exposed to “independent personal liability.”

                                   7                          c.      Unjust Enrichment

                                   8          Defendant argues that plaintiff’s cause of action for unjust enrichment (Count VII) should

                                   9   be dismissed because it is not a cause of action in California. Defendant’s argument fails as the

                                  10   California Supreme Court has clarified that unjust enrichment is a valid cause of action in

                                  11   California. See Hartford Cas. Ins. Co. v. J.R. Mktg., L.L.C., 61 Cal. 4th 988, 1000 (2015)

                                  12   (clarifying California law and allowing an independent claim for unjust enrichment).
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                                  13          Accordingly, defendant’s motion to dismiss plaintiff’s claim for unjust enrichment is

                                  14   DENIED.

                                  15                          d.      Breach of Express and Implied Warranties

                                  16          Defendant argues plaintiff’s warranty claim (Count VIII) should be dismissed on two

                                  17   grounds. First, plaintiff fails to allege that he attempted to enforce the terms of the warranties at

                                  18   issue. Second, Young lacks contractual privity because he purchased the LED Bulbs from a non-

                                  19   party, namely Wal-Mart. The Court addresses each.

                                  20          With respect to the first argument, Cree mischaracterizes plaintiff’s warranty claims. He

                                  21   does not allege that defendant breached the express warranties included on Cree’s product

                                  22   packaging. Rather, he alleges that Cree made representations concerning product life and energy

                                  23

                                  24

                                  25
                                               Second, defendant argues that plaintiff fails to allege detrimental reliance with respect to
                                  26   the negligent misrepresentation claims. Defendant does not persuade. Plaintiff alleges that he
                                       relied on defendant’s representations regarding the quality and longevity of defendant’s LED
                                  27   Bulbs. (See CAC ¶¶ 1, 5, 50, 59, 67, 68, 90, 96.) In any event, an inference of reliance is
                                       appropriate where the alleged misrepresentations are material. See Vasquez v. Superior Court, 4
                                  28
                                       Cal.3d 800, 814 (Cal. 1971).
                                                                                         14
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                                   1   savings which themselves give rise to express warranties regarding the same. (CAC ¶ 115).9

                                   2          Turning to the second argument, “[u]nder California law, the general rule is that privity of

                                   3   contract is required in an action for breach of either express or implied warranty and that there is

                                   4   no privity between the original seller and a subsequent purchaser who is in no way a party to the

                                   5   original sale.” In re Clorox Consumer Litig., 894 F. Supp. 2d 1224, 1236 (N.D. Cal. 2012)

                                   6   (internal quotation marks omitted) (citing Burr v. Sherwin Williams Co., 42 Cal. 2d 682, 695 (Cal.

                                   7   1954)). However, a “particularized exception[]” to the privity requirement exists as “when the

                                   8   plaintiff relies on written labels or advertisements of a manufacturer.” Clemens v.

                                   9   DaimlerChrysler Corp., 534 F.3d 1017, 1023 (9th Cir. 2008) (citing Burr, 42 Cal. 2d 682, 696

                                  10   (1954); see also In re Ferrero Litig. 794 F. Supp. 2d 1107, 1118 (S.D. Cal. 2011). Here, plaintiff

                                  11   alleges misrepresentations regarding defendant’s product packaging, written labels, and

                                  12   advertisements. (CAC ¶ 2.) Accordingly, privity of contract is not required. See Clemens, 534
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                                  13   F.3d at 1023. Defendant’s motion to dismiss plaintiff’s express and implied warranty claims

                                  14   (Count VIII) is DENIED.

                                  15                  2.      Third Category: 100% Satisfaction Guaranteed

                                  16          Plaintiff’s claims based on the third category of representations arise from allegations that

                                  17   defendant’s LED Bulbs “are sold with packaging which indicates . . . ‘100% Satisfaction

                                  18   Guaranteed.’” (CAC ¶ 15.) With respect to this category Punian illuminates. See Punian v.

                                  19   Gillette Co., 2016 WL 1029607, at *6–8 (N.D. Cal. 2016). There, plaintiffs alleged that

                                  20   defendant’s labels, which stated that Duralock Batteries were “GUARANTEED for 10 YEARS in

                                  21   storage[,]” were misleading because they did not disclose possible leakage from the batteries

                                  22   during that period. Id. at *3, 6. Plaintiff brought numerous claims but in granting defendant’s

                                  23   motion to dismiss, the court found that “[i]n California the use of the term ‘guarantee’ generally

                                  24   creates an express warranty . . . [which] is not a representation that a product has no defects, but

                                  25   rather a promise to repair, replace or refund a failed product.” Id. (citing Cal. Civ. Code §

                                  26

                                  27          9
                                                  Pursuant to Cal. Com. Code § 2313(a), “[a]ny affirmation of fact or promise made by the
                                       seller to the buyer which relates to the goods becomes part of the basis of the bargain creates an
                                  28
                                       express warranty that the goods shall conform to the affirmation or promise.”
                                                                                        15
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                                   1   1791.2(b); Hoey v. Sony Elecs. Inc., 515 F. Supp. 2d 1099, 1104 (N.D. Cal. 2007)).

                                   2          Similarly, the “100% Satisfaction Guarantee[]” at issue here “is not a representation that a

                                   3   product has no defects, but rather a promise to repair, replace or refund a failed product.” Id.

                                   4   Young does not allege that Cree failed to “repair, replace or refund a failed product.” Id. Thus,

                                   5   defendant’s motion to dismiss plaintiff’s claims based on the “100% Satisfaction Guarantee[]” is

                                   6   GRANTED with leave to file an amended complaint to allege, if possible, defendant’s failure to

                                   7   “repair, replace or refund a failed product.” 10 Id.

                                   8          C.       Standing

                                   9          Next, defendant argues that Young lacks standing to pursue claims arises from LED Bulbs

                                  10   that he did not purchase. The Court does not agree.

                                  11          “[A] Plaintiff may have standing to assert claims for unnamed class members based on

                                  12   products he or she did not purchase so long as the products and alleged misrepresentations are
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                                  13   substantially similar.” Brown v. Hain Celestial Grp., Inc., 913 F. Supp. 2d 881, 890 (N.D. Cal.

                                  14   2012); see also Astiana v. Dreyer's Grand Ice Cream, Inc., 2012 WL 2990766, at *11 (N.D. Cal.

                                  15   2012) (“the critical inquiry seems to be whether there is sufficient similarity between the products

                                  16   purchased and not purchased”). “The majority of the courts that have carefully analyzed the

                                  17   question hold that a plaintiff may have standing to assert claims for unnamed class members based

                                  18   on products he or she did not purchase so long as the products and alleged misrepresentations are

                                  19   substantially similar.” Miller v. Ghirardelli Chocolate Co., 912 F. Supp. 2d 861, 869 (N.D. Cal.

                                  20   2012) (noting that “substantial similarity” could be ascertained by examining “product

                                  21   composition” and “whether the alleged misrepresentations are sufficiently similar across

                                  22   product[s]”).

                                  23          Here, plaintiff alleges that he purchased three “100 Watt Standard A-Type” LED Bulbs.

                                  24   (CAC ¶ 32.) The Court finds that Young has standing to assert claims with regard to two other

                                  25   types of LED Bulbs, namely “Reflector (Flood/Spot)” and “Specialty” Bulbs, because plaintiff

                                  26   alleges substantially similar misrepresentations concerning longevity and cost savings. (See CAC

                                  27
                                              10
                                  28            At oral argument, plaintiff’s counsel seemed to suggest that the representation may be
                                       circumstantial evidence of other claims. The court takes no position on that argument.
                                                                                       16
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                                   1   ¶ 17 (identifying the three types of LED light bulbs manufactured by Cree as “Standard A-Type,

                                   2   Reflector (Flood/Spot), and Specialty; ¶¶ 19–21 (alleged misrepresentations for Standard A-Type);

                                   3   ¶¶ 23–24 (alleged misrepresentations for Reflector); ¶ 25 (alleged misrepresentations for

                                   4   Specialty).) Accordingly, defendant’s motion to dismiss on standing grounds is DENIED.

                                   5           D.      Punitive Damages

                                   6           Cree argues that plaintiff’s request for punitive damages under the CLRA fails because he

                                   7   does not allege that “an officer, director, or managing agent of the corporation . . . consciously

                                   8   disregarded, authorized, or ratified each act of oppression, fraud, or malice.” Cal. Civ. Code §§

                                   9   3294(b); see Kanfer v. Pharmacare U.S., Inc., 142 F. Supp. 3d 1091, 1108 (S.D. Cal. 2015). The

                                  10   Court concurs and finds that dismissal of plaintiff’s request for punitive damages under the CLRA

                                  11   is appropriate in this case.

                                  12           Accordingly, defendant’s motion is GRANTED with regard to plaintiff’s request for
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                                  13   punitive damages under the CLRA with leave to amend to allege, if possible, that “an officer,

                                  14   director, or managing agent of the corporation . . . consciously disregarded, authorized, or ratified

                                  15   each act of oppression, fraud, or malice” now in accordance with this order or 60 days before the

                                  16   close of discovery with leave of the Court should evidence be discovered to support the allegation.

                                  17   Id.

                                  18   IV.     CONCLUSION

                                  19           For the reasons set forth above, the Court hereby GRANTS IN PART and DENIES IN PART

                                  20   defendant’s motion to dismiss as follows:

                                  21           1.      On the topic of preemption, the Court:

                                  22                   A.             GRANTS defendant’s motion to dismiss as to the first category of

                                  23                                  representations, namely those that reiterate disclosures required to be

                                  24                                  made on the product’s principal display panel or Lighting Facts label.

                                  25                   B.             DENIES as to the second category of representations, namely those that

                                  26                                  present information regarding comparative energy consumption, energy

                                  27                                  cost savings, and lifespan.

                                  28                   C.             DENIES as to the third category of representations, namely those that
                                                                                            17
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                                   1                               present information regarding comparative energy consumption, energy

                                   2                               cost savings, and lifespan, namely those that state that Cree’s products

                                   3                               are “100% Satisfaction Guaranteed.”

                                   4           2.      With respect to the legal sufficiency of the complaint on the second and third

                                   5                   categories of representations, the Court:

                                   6                   A.          GRANTS defendant’s motion on the fraud counts, namely Counts I, II,

                                   7                               III and V, with leave to amend to plead reliance and the specific

                                   8                               representations on which plaintiff relied.

                                   9                   B.          GRANTS defendant’s motion on the negligence-based counts, namely

                                  10                               Counts VI and IX, with leave to amend regarding whether plaintiff was

                                  11                               exposed to “independent personal liability.”

                                  12                   C.          DENIES defendant’s motion as to Count VII for unjust enrichment.
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                                  13                   D.          DENIES defendant’s motion as to Count VIII for breach of express and

                                  14                               implied warranties with respect to comparative product life and energy

                                  15                               savings. However, the motion as to a claim based on “100%

                                  16                               Satisfaction Guaranteed” is GRANTED with leave to allege, if possible,

                                  17                               defendant’s failure to “repair, replace or refund a failed product.”

                                  18           3.      Defendant’s motion based on standing is DENIED.

                                  19           4.      Defendant’s motion with respect to punitive damages is GRANTED with leave to

                                  20                   amend now in accordance with this order or 60 days before the close of discovery

                                  21                   with leave of the Court should evidence support the allegation.

                                  22           Plaintiff shall file an amended complaint within 21 days of this Order. Defendant shall file

                                  23   its response within 21 after plaintiff’s filing.

                                  24           This terminates Docket Nos. 31, 32.

                                  25           IT IS SO ORDERED.

                                  26

                                  27   Dated: April 9, 2018
                                                                                                    YVONNE GONZALEZ ROGERS
                                  28                                                           UNITED STATES DISTRICT COURT JUDGE
                                                                                          18
